            Case 22-33553 Document 976-8 Filed in TXSB on 12/09/24 Page 1 of 6


ALEXANDER E. JONES
                                                                                      8
IP Assets Auction Bid Instructions
Highest & Best Bid Deadline: November 13, 2024 @ 10:30 am CST

 The following will outline the overbid process for the IP Assets Auction being used for the sale of the FSS
 assets, as per the Bidding Procedures as outlined in the Winddown Order dated entered in the US
 Bankruptcy Court, Southern District of Texas on September 25, 2024 in the matter of Alexander E. Jones,
 Case No. 22-33553.

 1.   This will be a final call for highest and best bids, wherein the Auctioneer and Trustee shall evaluate bids
      submitted and award the bids to the best single or combination of bids received based on the highest
      financial benefit to the creditors.
 2. In its evaluation of the best combination of bids, the Trustee reserves the right to attribute value to lots
    based on their projected piecemeal auction value. Any lots ‘awarded’ on this basis will the be sold at the
    scheduled December 10 auction or such other date as may be determined. Consistent with the
    Winddown Order, any bids that include components of consideration apart from the cash purchase
    amounts should quantify the amounts of such consideration in specific dollar amounts with as much
    specificity as possible and avoiding references to any formulas or other contingencies.
 3. Bids will not be accepted on any lots that are contingent upon another lot, however, various group lots
    have been provided to support combined lot bids. If for instance, you are the high bidder on Lot 3, but
    only want it if combined with Lots 1 & 2, then you will want to bid on Group 4, as a winning bid for lot 3
    would stand regardless of the outcome of other lots you may have bid upon. If you want Lot 3 as part
    of Group 4 but would also want it if you lost all other lots, then you will want to bid on both Lot 3 and
    Group 4.
 4. As described above, Bidders are urged to submit bids on multiple Lots or Group Lots for the best
    chances of being awarded lots in this sale.
 5. Please note that the winning bidder of equipment will be responsible to remove the equipment from the
    facilities within 15 days of closing, unless arrangements have been made with the landlord for longer
    term facility access.
 6. Please note that the winning bidder of inventory will be responsible to remove the inventory from the
    facilities within 15 days of closing, unless arrangements have been made with the landlord or warehouse
    facility for longer term facility access. This includes inventory located at a third-party warehouse facility
    in Denver Colorado.
 7. Please note that the sale of equipment to a non-IP buyer will exclude any servers or computers which
    house intellectual property that cannot otherwise be efficiently extracted. This will be determined at
    Trustee sole discretion, with guidance from its IT consultant.
 8. This round of bidding is only open to invited, qualified bidders, and invited bidders are reminded that this
    bid document, and the auction process are all governed by the non-disclosure agreement entered by
    the bidder.




                              Please Email Bids to the Following Parties:
               jeff@360assetadvisors.com, ktoney@tranzon.com, edurnil@tranzon.com,
                    jwolfshohl@porterhedges.com, mdearman@porterhedges.com,
                         chris@jonesmurray.com, erin.jones@jonesmurray.com




Page 1
             Case 22-33553 Document 976-8 Filed in TXSB on 12/09/24 Page 2 of 6


ALEXANDER E. JONES


IP Assets Auction Overbid Form
Highest & Best Bid Deadline: November 13, 2024 @ 10:30 am CST

     Buyer Name                                                     Buyer Company            Global Tetrahedron, LLC
           Phone 1                                                            Phone 2
          Address       730 N. Franklin St, Suite 700                               City     Chicago
          State/Zip    IL 60654                                                   Email
          Partner *   The Connecticut Families (as defined in, and to the extent set forth in, the previously submitted Bid Letter)


Bid Packages
Note: Bids for each package below are non-contingent on winning any other lots. You may bid on multiple
packages; We will consider your highest and best package option when evaluating bids.

 LOTS                                                                                                   BID
 Lot 1a | Production IP with Equipment (Building 2 & 3)                                                 $
 Lot 1b | Production IP without Equipment                                                               $
 Lot 1c | Production Equipment Only (Building 2 & 3)                                                    $
 Lot 2a | E-commerce IP with Inventory                                                                  $
 Lot 2b | E-commerce IP without Inventory                                                               $
 Lot 2c | Inventory Only                                                                                $
 Lot 3 | Domain Names                                                                                   $
 Lot 4 | Contested Domain Names                                                                         $
 LOT GROUPS

 Group 1 | Production AND E-commerce Intellectual Property Only (Lot 1b & 2b)                           $
 Group 2 | Production AND E-commerce IP, Equipment & Inventory (Lot 1a & 2a)                            $
 Group 3 | Domain Names (Lot 3 & 4)                                                                     $
 Group 4 | All Intellectual Property, Equipment, Inventory & Domains (Lots 1 -4)                        $ 7,000,000 **
 Group 5 | All Intellectual Property & Equipment (no inventory) (Lots 1a & 2b)                          $ 7,000,000 **
 Group 6 | All Intellectual Property & Inventory (no equipment) (Lots 1b & 2a)                          $
 Group 7 | Equipment & Inventory (no IP) (Lots 1c & 2c)                                                 $
 I hereby submit my over bid for the Packages above in accordance with the terms and conditions of the bid package
 and sale order. All bids are irrevocable and final.
                                                       **Not less than $7,000,000, as set forth in more detail in the accompanying Final Bid Letter
 X

 Name:
 Title:     CEO

 Date:    November 13, 2024

Page 2
     Case 22-33553 Document 976-8 Filed in TXSB on 12/09/24 Page 3 of 6




                                     Global Tetrahedron, LLC
                                   730 N. Franklin Street, Suite 700
                                         Chicago, IL 60654

PRIVATE AND STRICTLY CONFIDENTIAL
NOT FOR PUBLIC DISCLOSURE

November 13, 2024

    Porter Hedges LLP                                    Jones Murray LLP
    1000 Main Street                                     602 Sawyer Street, Suite 400
    Houston, Texas 77002                                 Houston, Texas 77007
    Attn: Joshua W. Wolfshohl, Michael B.                Attn: Christopher R. Murray, Erin Jones
    Dearman

    Tranzon Asset Advisors                               ThreeSixty Asset Advisors
    1108A North Dixie Avenue                             3075 E. Thousand Oaks Blvd.
    Elizabethtown, Kentucky 42701                        Westlake Village, California 91362
    Attn: Kelly Toney, Ed Durnil                         Attn: Jeff Tanenbaum


      Re: Best And Final Bid to Acquire Certain Assets of Free Speech Systems, LLC

Global Tetrahedron, LLC (“Global Tetrahedron”) and the Connecticut Families 1
(collectively with Global Tetrahedron, the “Bidders”, “we”, “our”, or “us”) are pleased to
submit this revised best and final joint bid (this “Final Bid”) to acquire certain assets of
Free Speech Systems, LLC (“FSS”) on the terms and subject to the conditions set forth
herein in accordance with that certain Order Granting Trustee’s Motion for Entry of an
Order Authorizing the Winddown of Free Speech Systems, LLC, Case No. 22-33553,
Docket No. 859 (together with any supplemental orders entered in connection therewith,
the “Bidding Procedures Order”).2 The terms of this Final Bid modify the initial bid
submitted by the Bidders on November 8, 2024 (the “Initial Bid”) solely to the extent set
forth herein. The Bidders have submitted a completed IP Assets Auction Overbid Form
(the “Overbid Form”) contemporaneously herewith in accordance with the Chapter 7
Trustee’s instructions, though the terms of this Final Bid shall control in the event of any
discrepancy between this Final Bid and the Overbid Form.

      1. Increased Consideration of At Least $7 Million

We have meaningfully improved the consideration provided in our Initial Bid—our Final
Bid should now be valued at over $7 million of total cash consideration for the Group 5

1
      The “Connecticut Families” are

                                                                                              .
2
      Capitalized terms used but not defined herein shall have the meaning ascribed to such term in the Bidding
      Procedures Order or that certain Offering Memorandum transmitted in connection therewith, as
      applicable.
Case 22-33553 Document 976-8 Filed in TXSB on 12/09/24 Page 4 of 6
    Case 22-33553 Document 976-8 Filed in TXSB on 12/09/24 Page 5 of 6




(as defined in the Initial Bid) and shall forego receipt of the Distributable Proceeds Waiver
Amount, which shall be assigned to the Chapter 7 Trustee for the benefit of all other
unsecured creditors of FSS. The “Distributable Proceeds Waiver Amount” is revised under
this Final Bid so that it shall equal an amount necessary for other unsecured creditors of
FSS (including the Texas Families) to recover $100,000 more (an increase from the $1
amount set forth in the Initial Bid), in the aggregate, than they would recover from the sale
of the Acquired Assets to the otherwise highest Qualified Bid der.
c. Future Revenues – Consistent with our Initial Bid, Global Tetrahedron shall pay a
   portion of future revenues derived from the Acquired Assets to the Connecticut Families
   and the Texas Families on a pro rata basis, as determined by the allowed amount of
   their claims in the Jones chapter 7 case (the “Future Revenue Payments”).5 Global
   Tetrahedron shall cooperate in good faith with the Connecticut Families and the Texas
   Families to determine the amount and timing of such Future Revenue Payments. While
   the present value of the Future Revenue Payments is inherently uncertain and difficult
   to value, such payments must nonetheless be considered by the Chapter 7 Trustee (the
   Connecticut Families—the largest creditors of FSS—place considerable value on such
   payments).

     2. Acquired Assets

As set forth in the Overbid Form, the Bidders seek to acquire the “Group 5” assets, which
includes the assets comprising Lot 1a (production IP with equipment) and Lot 2b
(e-commerce IP without inventory) (the “Acquired Assets”).6 In addition, the Bidders are
willing to acquire the Group 4 assets on the same set of terms; provided that they allocate
no portion of the Purchase Price to any asset included in Group 4 that is not part of Group 5.

                                             *        *        *

We look forward to discussing this Final Bid with the Chapter 7 Trustee and his advisors.
We are confident that this Final Bid, especially when giving consideration to the
Distributable Proceeds Waiver and Future Revenue Payments, constitutes the best and
highest bid for the Acquired Assets.

The Connecticut Families, holders of 96.7% of all liquidated claims against FSS and
Jones, wholly support the terms of this Final Bid and urge the Chapter 7 Trustee to deem
this Final Bid the Successful Bid. The Connecticut Families trust that the Chapter 7
Trustee, in fulfilling his fiduciary duties, would not sell the Acquired Assets to any
purchaser offering less than $7 million for such assets, as such bid would offer less value
to unsecured creditors. Moreover, the Connecticut Families implore the Chapter 7 Trustee

5
     Future Revenue Payments shall consist of payments from the sale of merchandise, promotional items,
     and other assets.
6
     If selected as the Successful Bidder, Global Tetrahedron may determine to form a new subsidiary entity
     for the purpose of acquiring the Acquired Assets. If applicable, Global Tetrahedron will provide prior
     written notice of such entity’s formation to the Chapter 7 Trustee, and will cooperate in good faith to
     provide additional information with respect thereto, as may be requested by the Chapter 7 Trustee.
  Case 22-33553 Document 976-8 Filed in TXSB on 12/09/24 Page 6 of 6




to remember that the best interest of creditors in this case is served by ensuring that the
assets being sold will not be used to continue harassing, victimizing, and defaming the
Connecticut Families (i.e., the very reason this bankruptcy case exists).

Please feel free to contact us with any questions or comments.



                                                 Very truly yours,




                                                  Chief Executive Officer
                                                  Global Tetrahedron, LLC




                                                  Christopher M. Mattei
                                                  Koskoff Koskoff & Bieder, PC
                                                  Counsel to the Connecticut Families
